                      Case 17-14474-SMG               Doc 13        Filed 05/08/17         Page 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                               Southern District of Florida www.flsb.uscourts.gov
                             Chapter 13 Plan-MMM (Individual Adjustment of Debts)


Debtor: Garcia, Heliodoro                       Joint Debtor:                                  Case No: 17-14474
Last Four Digits of SS# 5434                    Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee’s fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for a period of 36 months: In the event the trustee does not collect the full 10%, any portion
not collected will be paid to creditors pro-rata under the plan:

A. $1,639.00 for month 1 to 5;
B. $1,691.11 for month 6 to 10;
C. $1,196.83 for month 11 to 36;

     in order to pay the following creditors:

Administrative: Attorney’s Fee - $ 3,500 ($3,500 Ch. 13 Fee + $2,500 MMM)
                Total Paid Pre Petition: $1,500
                Balance Due: $ 4,500.00 payable $450/month (Months 1 to 10)
Secured Creditors: [Retain Liens pursuant to 11 U.S.C. § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:

1.Selene Finance LP                             Adequate Protection Payment (Contractual Rate): $1,040.00
Address: 9990 Richmond Ave, Suite 400
            South Houston TX 77042

Account #: 1351

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED
ON YOU PURSUANT TO BR 7004 AND LR 3015-3.
      Secured Creditor           Description of Collateral and     Value of     Interest      Plan      Months of Total Plan
                                                                   Collateral    Rate       Payment     Payment Payments


Priority Creditors: [as defined in 11 U.S.C. §507]

1. None                                         Total Due $ Amount Entitled to Priority: $
                                                Payable $/month (Months to )
Unsecured Creditors: Pay $48.03/month (Months 6 to 36).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
Other Provisions Not Included Above:
Debtor shall provide copies of yearly income tax returns to the Trustee no later than May 15th during the pendency of the
Chapter 13 case. In the event the Debtor’s income or tax refunds increase, Debtor shall increase payments to unsecured
creditors over and above payments provided through the Plan up to 100% of allowed unsecured claims.

The debtor has filed a Verified Motion for Referral to MMM with Selene Finance LP (“Lender”), loan number 1351, for real
property located at 4821 NE 4 Ave Fort Lauderdale, FL 33334. The parties shall timely comply with all requirements of the
Order of Referral to MMM and all Administrative Orders/Local Rules regarding MMM. While the MMM is pending and
until the trial/interim payment plan or the permanent mortgage modification/permanent payment is established by the parties,
the debtor has included a post-petition plan payment, absent Court order to the contrary, of no less than the required 31% of
the debtor’s gross monthly income (after deducting any amount paid toward HOA fees due for the property) as a good faith
adequate protection payment to the lender. All payments shall be considered timely upon receipt by the trustee and not upon
receipt by the lender.
                       Case 17-14474-SMG                Doc 13       Filed 05/08/17          Page 2 of 2



Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage
arrearage stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to
confirmation of the plan or modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later
than 14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately
amend or modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as
applicable.

If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement.

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
Claim) or (b) provide that the real property will be surrendered. If the amended or modified plan provides that the real
property is to be surrendered, then the obligations to the lender will be considered “treated outside the plan” and the lender
shall have in rem relief from the automatic stay as to the real property being surrendered. Notwithstanding the foregoing,
lender may file a motion to confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its
Proof of Claim.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Heliodoro Garcia
Debtor                                                          Joint Debtor
Date: May 8, 2017                                               Date:
